     Case 4:18-cv-00824-O Document 49 Filed 09/23/20   Page 1 of 22 PageID 641



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION
                      _____________________________________


U.S. PASTOR COUNCIL, et al.,

      Plaintiffs,                          Case No. 4:18-cv-00824-O

v.

EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION, et al.,

      Defendants.


       BRIEF IN SUPPORT OF DEFENDANTS’ RENEWED MOTION TO DISMISS
   Case 4:18-cv-00824-O Document 49 Filed 09/23/20                                            Page 2 of 22 PageID 642



                                                   TABLE OF CONTENTS

TABLE OF CONTENTS................................................................................................................. i

TABLE OF AUTHORITIES .......................................................................................................... ii

INTRODUCTION .......................................................................................................................... 1

BACKGROUND ............................................................................................................................ 3

STANDARD OF REVIEW ............................................................................................................ 5

ARGUMENT .................................................................................................................................. 6

I. There is No Article III Standing to Sue the Attorney General. ................................................ 7

II. Plaintiffs’ Claims are Unripe. ................................................................................................... 9

CONCLUSION ............................................................................................................................. 14




                                                                      i
   Case 4:18-cv-00824-O Document 49 Filed 09/23/20                                            Page 3 of 22 PageID 643



                                               TABLE OF AUTHORITIES

CASES

Abbott Laboratories v. Gardner,
  387 U.S. 136 (1967) .................................................................................................................... 9

Baldwin v. Foxx,
  EEOC Doc. 0120133080, 2015 WL 4397641 (July 15, 2015) ................................................. 12

Barrera–Montenegro v. United States,
  74 F.3d 657 (5th Cir. 1996) ........................................................................................................ 6

Bauer v. Texas,
  341 F.3d 352 (5th Cir. 2003) ...................................................................................................... 8

Bostock v. Clayton County Bd. of Comm’rs,
  140 S. Ct. 1731 (2020) ....................................................................................................... passim

Burwell v. Hobby Lobby,
  134 S. Ct. 2751 (2014) .............................................................................................................. 14

Calzone v. Hawley,
  866 F.3d 866 (8th Cir. 2017) ...................................................................................................... 9

Clapper v. Amnesty Int'l USA,
  568 U.S. 398 (2013) .................................................................................................................. 15

Coastal Habitat Alliance v. Patterson,
  601 F. Supp. 2d 868 (W.D. Tex. 2008)....................................................................................... 9

Collin Cty., Texas v. Homeowners Ass’n for Values Essential to Neighborhoods (“HAVEN”),
  915 F.2d 167 (5th Cir. 1990) .............................................................................................. 10, 11

Crane v. Johnson,
  783 F.3d 244 (5th Cir. 2015) ...................................................................................................... 9

DaimlerChrysler Corp. v. Cuno,
  547 U.S. 332 (2006) ................................................................................................................ 7, 9

EEOC v. R.G. & G.R. Harris Funeral Homes,
  884 F.3d 560 (6th Cir. 2018) .................................................................................................... 11

Franciscan Alliance v. Burwell,
  227 F. Supp. 3d 660 (N.D. Tex. 2016) ..................................................................................... 12



                                                                     ii
   Case 4:18-cv-00824-O Document 49 Filed 09/23/20                                            Page 4 of 22 PageID 644




Gallagher v. Crown Kosher Super Market of Mass., Inc.,
  366 U.S. 617 (1961) .................................................................................................................. 14

Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal,
  546 U.S. 418 (2006) .............................................................................................................. 2514

Haywood v. Drown,
  556 U.S. 729 (2009) .................................................................................................................... 7

Hein v. Freedom from Religion Found.,
  551 U.S. 587 (2007) .................................................................................................................... 6

Home Builders Ass'n of Miss. v. City of Madison,
  143 F.3d 1006 (5th Cir. 1998) .................................................................................................... 5

Hosanna-Tabor Evangelical Lutheran Church and School v. EEOC,
  565 U.S. 171 (2012) .......................................................................................................... 1, 2, 14

James v. City of Dallas,
  254 F.3d 551 (5th Cir. 2001) ...................................................................................................... 9

Kowalski v. Tesmer,
  543 U.S. 125 (2004) .................................................................................................................... 6

Lewis v. Casey,
  518 U.S. 343 (1996) .................................................................................................................... 7

Lopez v. City of Houston,
  617 F.3d 336 (5th Cir. 2010) ...................................................................................................... 9

Lujan v. Defenders of Wildlife,
  504 U.S. 555 (1992) .................................................................................................................... 6

Macy v. Holder,
 EEOC DOC 0120120821, 2012 WL 1435995 (Apr. 20, 2012)................................................ 12

Middle South Energy, Inc. v. City of New Orleans,
  800 F.2d 488 (5th Cir. 1986) .................................................................................................... 10

Moore v. Bryant,
  853 F.2d 245 (5th Cir. 2017) ...................................................................................................... 7

NAACP v. City of Kyle,
  626 F.3d 233 (5th Cir. 2010) ...................................................................................................... 7



                                                                    iii
   Case 4:18-cv-00824-O Document 49 Filed 09/23/20                                            Page 5 of 22 PageID 645



Orix Credit All., Inc. v. Wolfe,
  212 F.3d 891 (5th Cir. 2000) .................................................................................................... 10

Our Lady of Guadelupe School v. Morrissey-Berru,
  140 S. Ct. 2049 (2020) .................................................................................................... 2, 11, 14

Princeton Univ. v. Schmid,
455 U.S. 100 (1982) ...................................................................................................................... 11

Raines v. Byrd,
  521 U.S. 811 (1997) .................................................................................................................... 6

Ramming v. United States,
  281 F.3d 158 (5th Cir. 2001) ...................................................................................................... 6

Regions Ins., Inc. v. Ace Prop. & Cas. Ins. Co.,
  80 F. Supp. 3d 730 (M.D. La. 2015) ......................................................................................... 10

Renne v. Geary,
  501 U.S. 312 (1991) .................................................................................................................... 5

Shields v. Norton,
  289 F.3d 832 (5th Cir. 2002) ...................................................................................................... 6

Simon v. Eastern Ky. Welfare Rights Organization,
  426 U.S. 26 (1976) ...................................................................................................................... 6

Susan B. Anthony List v. Driehaus,
  573 U.S. 149 (2014) .................................................................................................................... 6

Texas v. United States,
  497 F.3d 491 (5th Cir. 2007) ...................................................................................................... 6

Texas v. United States,
  523 U.S. 296 (1998) .................................................................................................................... 9

United Transp. Union v. Foster,
  205 F.3d 851 (5th Cir. 2000) ...................................................................................................... 9

Warth v. Seldin,
 422 U.S. 490 (1975) .................................................................................................................. 14

STATUTES

42 U.S.C. § 2000bb-1 ............................................................................................................ passim



                                                                     iv
   Case 4:18-cv-00824-O Document 49 Filed 09/23/20                                            Page 6 of 22 PageID 646



42 U.S.C. § 2000e-2........................................................................................................................ 3

42 U.S.C. § 2000e-5.................................................................................................................. 8, 10




REGULATIONS

Federal Law Protections for Religious Liberty, Attorney General’s Memorandum,
  82 Fed. Reg. 49668-01, 2017 WL 4805663 (Oct. 6, 2017)................................................ 4, 5, 8

UNITED STATES CONSTITUTION

U.S. Const. art. III, § 1 ........................................................................................................... passim


OTHER AUTHORITIES

Promoting Free Speech and Religious Liberty, Exec. Order 13,798,
  82 Fed. Reg 21,675 (May 4, 2017)................................................................................... 4, 5, 11




                                                                     v
  Case 4:18-cv-00824-O Document 49 Filed 09/23/20                   Page 7 of 22 PageID 647



                                        INTRODUCTION

       Like the two previous complaints in this case, Plaintiffs’ Second Amended Class Action

Complaint, ECF No. 19 (“SAC”) fails to establish that Plaintiffs have standing to pursue their

claims or that those claims are ripe. In the SAC, the U.S. Pastor Council (“Pastor Council”) and

Braidwood Management, Inc. (“Braidwood”) continue to assert claims against the Equal

Employment Opportunity Commission (“EEOC”) and the Attorney General, the head of the

Department of Justice (“DOJ”). These Plaintiffs are now joined by an individual religious

institution, Bear Creek Bible Church (“Bear Creek”). In the SAC, Plaintiffs challenge application

of the Title VII protections for sexual orientation and gender identity described in Bostock v.

Clayton County, Georgia, 140 S. Ct. 1731 (2020), to themselves and a putative class of similarly

situated entities. Plaintiffs seek a declaratory judgment that Plaintiffs and putative class members

are exempt from the application of those aspects of Title VII so that they may operate according

to their sincere religious beliefs. Plaintiffs also seek a declaratory judgment regarding how those

aspects of Title VII apply to certain employment practices.

       These claims do not meet the constitutional prerequisites for judicial review. There can

be no doubt of the paramount “interest of religious groups in choosing who will . . . carry out

their mission,” Hosanna-Tabor Evangelical Lutheran Church and School v. EEOC, 565 U.S.

171, 196 (2012), or that the Constitution, statutes, and other sources of law command every

Branch to protect religious liberty as a fundamental right. The Supreme Court noted in Bostock

itself that it was “deeply concerned with preserving the promise of the free exercise of religion

enshrined in our Constitution; that guarantee lies at the heart of our pluralistic society.” 140 S.

Ct. at 1754. To that end, it noted that Title VII includes “an express statutory exception for

religious organizations,” that “the First Amendment can bar the application of employment



                                                  1
  Case 4:18-cv-00824-O Document 49 Filed 09/23/20                   Page 8 of 22 PageID 648



discrimination laws” under the ministerial exception, and that the Religious Freedom Restoration

Act (“RFRA”), 42 U.S.C. § 2000bb-1, “might supersede Title VII’s commands in appropriate

cases.” Id. At the President’s direction, DOJ has provided guidance to every agency regarding

these religious liberty protections. Nevertheless, the particular circumstances under which

“RFRA and the First Amendment limit the application of Title VII to religious employers who

object to homosexual and transgender behavior,” SAC ¶ 17, must be litigated in the context of an

actual case or controversy. As between these parties, no such controversy yet exists.

       The “Case” or “Controversy” requirement in Article III of the Constitution limits “the

judicial Power” exercised by federal courts to circumstances in which a court must resolve a

concrete and specific legal dispute arising between adverse parties. The doctrines of standing

and ripeness, as set forth by the Supreme Court and the Fifth Circuit, dictate that Plaintiffs may

not sue the Attorney General or the EEOC until a concrete disagreement arises. As to the

Attorney General, although the Declaratory Judgment Act permits a plaintiff to obtain an early

resolution of a claim that a defendant intends to file against the plaintiff, the Attorney General

does not have the power to bring claims against the Plaintiffs under Title VII. As to the EEOC,

since the Supreme Court recognized the ministerial exception to Title VII in Hosanna-Tabor—

an exception further defined in Our Lady of Guadalupe School v. Morrissey-Berru, 140 S. Ct.

2049 (2020)—that agency has rarely brought claims seeking to enforce Title VII as to non-

ministerial employees of churches, and has not brought any since the confirmation of the current

leadership of the EEOC. Thus, no Plaintiff has a need to secure relief as to the Attorney General,

and neither Bear Creek nor the Pastor Council has a need to secure relief as to the EEOC,

declaratory or otherwise. Nor does the SAC allege facts that suggest an imminent threat that the

EEOC will sue Braidwood.



                                                  2
    Case 4:18-cv-00824-O Document 49 Filed 09/23/20                 Page 9 of 22 PageID 649



                                         BACKGROUND

       Title VII of the Civil Rights Act of 1964 forbids employers from “discriminat[ing]

against any individual with respect to his compensation, terms, conditions, or privileges of

employment, because of such individual’s . . . sex.” 42 U.S.C. § 2000e-2(a)(1). Title VII also

forbids an employer from “limit[ing], segregat[ing], or classify[ing] . . . employees or applicants

for employment in any way which would deprive or tend to deprive any individual of

employment opportunities or otherwise adversely affect his status as an employee, because of

such individual’s . . . sex.” 42 U.S.C. § 2000e-2(a)(2). 1 In Bostock, the Supreme Court stated

for the first time that, under the first of these provisions, “[a]n employer who fires an individual

merely for being gay or transgender defies the law.” Bostock, 140 S. Ct. 1754.

       In Bostock, the Supreme Court left many “questions for future cases,” but expressed

“deep[] concern with preserving the promise of the free exercise of religion enshrined in our

Constitution,” noting that this “guarantee lies at the heart of our pluralistic society.” 140 S. Ct.

1754. To that end, the Court pointed out that “Congress included an express statutory exception

for religious organizations” in Title VII itself, and that the First Amendment, too, “can bar the

application of employment discrimination laws” under the ministerial exception. Id. It also

explained that, “[b]ecause RFRA operates as a kind of super statute, displacing the normal

operation of other federal laws, it might supersede Title VII’s commands in appropriate cases.”

Id. But because the employer in Bostock had not pressed its RFRA-based defense in the




1
  In the SAC, Plaintiffs discuss 42 U.S.C. § 2000e-2(a)(2) as one of the “statutory prohibitions on
‘sex’ discrimination” animating Plaintiffs’ claims. See SAC ¶¶ 11-12. However, Plaintiffs’
specific claims seek “[e]xemptions to Bostock’s [i]nterpretation [o]f Title VII,” and Bostock dealt
specifically with 42 U.S.C. § 2000e-2(a)(1), not 42 U.S.C. § 2000e-2(a)(2). Compare SAC at
pp. 13-17 (setting forth “Claim 1,” “Claim 2,” “Claim 3,” etc.) with Bostock, 140 S. Ct. 1738-39.
                                                  3
 Case 4:18-cv-00824-O Document 49 Filed 09/23/20                   Page 10 of 22 PageID 650



Supreme Court, the Court left the application of these “doctrines protecting religious liberty” for

“careful consideration” in other cases. Id.

        The protection of religious liberty, of course, is not reserved to the Judicial Branch alone.

The President has affirmed “the fundamental right to religious liberty as Americans’ first

freedom” through Executive Order (“EO”) 13798. Promoting Free Speech and Religious

Liberty, Exec. Order 13798 at § 1, 82 FR 21675 (May 4, 2017). Emphasizing that “[f]ederal law

protects the freedom of Americans and their organizations to exercise religion and participate

fully in civic life without undue interference by the Federal Government,” EO 13798 requires the

entire “executive branch to vigorously enforce Federal law’s robust protections for religious

freedom,” and directs the Attorney General to “issue guidance interpreting religious liberty

protections in Federal law.” Id. at §§ 1, 4.

        On October 6, 2017, pursuant to EO 13798, the Attorney General issued guidance

interpreting religious liberty protections in the form of a “memorandum and appendix to guide

all administrative agencies and executive departments in the execution of federal law.” Federal

Law Protections for Religious Liberty, AG’s Memorandum, 82 FR 49668-01, 2017 WL 4805663

(Oct. 6, 2017) (“Religious Liberty Memorandum”). Citing relevant constitutional and statutory

authority and judicial precedent, the Religious Liberty Memorandum explained several

fundamental principles of the protection of religious freedom. As relevant to the claims here, the

Religious Liberty Memorandum specifically stated the following:

    •   “The Free Exercise Clause protects not just persons, but persons collectively exercising
        their religion through churches or other religious denominations, religious organizations,
        schools, private associations, and even businesses.” Id. at ¶ 3;

    •   “[O]rganizations do not give up their religious-liberty protections by . . . seeking to earn
        or earning a living; by employing others to do the same.” Id. at ¶ 4;




                                                  4
 Case 4:18-cv-00824-O Document 49 Filed 09/23/20                    Page 11 of 22 PageID 651



    •   The Religious Freedom Restoration Act of 1993 (“RFRA”) “prohibits the federal
        government from substantially burdening [the] exercise of religion, unless the federal
        government demonstrates that application of such burden to the religious adherent is the
        least restrictive means of achieving a compelling governmental interest.” Id. at ¶ 10;

    •   “RFRA applies to all actions by federal administrative agencies, including rulemaking,
        adjudication or other enforcement actions, and grant or contract distribution and
        administration,” and “extends not just to individuals, but also to organizations,
        associations, and at least some for-profit corporations.” Id at ¶ 11;

    •   Under RFRA, “a government action that bans an aspect of an adherent’s religious
        observance or practice, compels an act inconsistent with that observance or practice, or
        substantially pressures the adherent to modify such observance or practice, will qualify
        as a substantial burden on the exercise of religion.” Id. at ¶ 13;

    •   Under Title VII, “religious organizations may choose to employ only persons whose
        beliefs and conduct are consistent with the organizations’ religious precepts,” and a
        “similar right” may be conferred on religious employers “under RFRA or the Religion
        Clauses of the Constitution.” Id. at ¶ 19.

The Religious Liberty Memorandum thereby emphasized that “all aspects of religious

observance and practice . . . should be reasonably accommodated in all government activity.” Id.

at ¶ 17a. To date, the EEOC has not adopted any policy guidance addressing the application of

E.O. 13798 or the Religious Liberty Memorandum to its activities, but it also has not stated an

intent to disregard the fundamental rights of Americans to practice their faiths.

                                   STANDARD OF REVIEW

        Defendants move for dismissal of this action under Rule 12(b)(1). A court dismisses a

case under Rule 12(b)(1) for lack of subject matter jurisdiction if it “lacks the statutory or

constitutional power to adjudicate the case.” Home Builders Ass’n of Miss. v. City of Madison,

143 F.3d 1006, 1010 (5th Cir. 1998) (citation omitted). “It is the responsibility of the

complainant clearly to allege facts demonstrating that he is a proper party to invoke judicial

resolution of the dispute and the exercise of the court’s remedial powers,” Renne v. Geary, 501

U.S. 312, 316 (1991), and so the burden of proof on a Rule 12(b)(1) motion to dismiss rests with


                                                  5
 Case 4:18-cv-00824-O Document 49 Filed 09/23/20                   Page 12 of 22 PageID 652



the party asserting jurisdiction. In ruling on a 12(b)(1) motion, a court may rely upon: “(1) the

complaint alone, (2) the complaint supplemented by undisputed facts in the record, or (3) the

complaint supplemented by undisputed facts in addition to the court’s resolution of disputed

facts.” Barrera–Montenegro v. United States, 74 F.3d 657, 659 (5th Cir. 1996). The Court

should “consider the Rule 12(b)(1) jurisdictional attack before addressing any attack on the

merits.” Ramming v. United States, 281 F.3d 158, 161 (5th Cir. 2001).

                                          ARGUMENT

       “‘No principle is more fundamental to the judiciary’s proper role in our system of

government than the constitutional limitation of federal-court jurisdiction.’” Raines v. Byrd, 521

U.S. 811, 818 (1997) (quoting Simon v. Eastern Ky. Welfare Rights Organization, 426 U.S. 26,

37 (1976)). “Article III of the Constitution limits the judicial power of the United States to the

resolution of ‘Cases’ and ‘Controversies,’” Hein v. Freedom from Religion Found., 551 U.S.

587, 597 (2007); however, “it does not attempt to define those terms.” Lujan v. Defenders of

Wildlife, 504 U.S. 555, 559 (1992). In order to effectuate the Constitution’s mandate, the

Supreme Court has developed the doctrines of standing and the similar “constitutional

prerequisite to the exercise of jurisdiction”—ripeness. Shields v. Norton, 289 F.3d 832, 835 (5th

Cir. 2002); see also Kowalski v. Tesmer, 543 U.S. 125, 128–29 (2004). These doctrines “often

overlap in practice,” Texas v. U.S., 497 F.3d 491, 496 (5th Cir. 2007), because they “originate

from the same Article III limitation,” S.B.A. List v. Driehaus, 573 U.S. 149, 157 n.5 (2014).

       Although the SAC alleges several injuries to Plaintiffs, none of these purported injuries

provides standing to sue the Attorney General. Nor does the SAC demonstrate that Plaintiffs’

claims against the EEOC are ripe: Plaintiffs have identified no action by the EEOC with regard

to any Plaintiff; no instance in which any Plaintiff has been affected by application of Title VII



                                                 6
  Case 4:18-cv-00824-O Document 49 Filed 09/23/20                    Page 13 of 22 PageID 653



to employment decisions made in the context of sexual orientation or gender identity; and no

circumstance in which any Plaintiff has faced an actual choice between “obeying civil

authorities” and violating their religious beliefs regarding sexual orientation or gender identity.

In short, judicial review is not available for an abstract and free-standing legal question, such as

whether a religious exemption applies broadly to Title VII for Plaintiffs and similarly situated

entities, and the facts so far identified by Plaintiffs are insufficient to identify a concrete dispute.

  I.    There is No Article III Standing to Sue the Attorney General.

        “Article III standing is a jurisdictional requirement,” NAACP v. City of Kyle, 626 F.3d

233, 237 (5th Cir. 2010), and “[w]ithout jurisdiction the court cannot proceed at all in any

cause.” Id. (quoting Haywood v. Drown, 556 U.S. 729, 755 (2009)) (emphasis in original). The

requirement that Plaintiffs have standing encompasses three elements, all of which must be

satisfied for each Plaintiff and each claim in every lawsuit. Moore v. Bryant, 853 F.3d 245, 248-

49 (5th Cir. 2017); see DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006) (“a plaintiff

must demonstrate standing for each claim ... [and] separately for each form of relief sought”);

Lewis v. Casey, 518 U.S. 343, 358 n.6 (1996) (“Standing is not dispensed in gross”). A “plaintiff

must have suffered an injury in fact,” which requires the “invasion of a legally protected interest”

in a “concrete and particularized, and[] actual or imminent” manner.” Moore, 853 F.3d at 248

(citations omitted). Next, “there must be a causal connection between the injury and the conduct

complained of; the injury has to be fairly traceable to the challenged action of the defendant, and

not the result of the independent action of some third party not before the court.” Id. at 191

(cleaned up). Finally, “it must be likely, as opposed to merely speculative, that the injury will be

redressed by a favorable decision.” Id. (internal quotation marks omitted). In order “to meet the

Article III standing requirement when a plaintiff is seeking injunctive or declaratory relief, a



                                                   7
    Case 4:18-cv-00824-O Document 49 Filed 09/23/20                  Page 14 of 22 PageID 654



plaintiff must allege facts from which it appears there is a substantial likelihood that he will

suffer injury in the future.” Bauer v. Texas, 341 F.3d 352, 358 (5th Cir. 2003).

        Plaintiffs’ SAC lacks any sufficient allegation of an “actual or imminent” injury

attributable to the Attorney General. Plaintiffs have identified no DOJ policy that they seek to

challenge, no statement or action by the Attorney General with which they disagree, and no non-

speculative situation in which an action by the Attorney General might conceivably affect

Plaintiffs. Moreover, there is no apparent controversy between Plaintiffs and DOJ regarding the

rights to religious freedom of religious institutions and closely-held, religiously-operated

businesses. To the contrary, DOJ has issued the Religious Liberty Memorandum, which

documents the extensive protections for religious freedom—including for “churches . . .,

religious organizations, schools, private associations, and even businesses”—under Title VII,

RFRA, and the Constitution and affirms the Department’s commitment to those protections. See

Religious Liberty Memorandum at 2.

        There can also be no concrete injury to Plaintiffs from the Attorney General caused by

the “threat[] of . . . penalties and lawsuits.” SAC ¶¶ 81, 88. That is because the Attorney

General enforces Title VII only against state and local government employers, not against private

employers such as Braidwood, Bear Creek, or the members of the Pastor Council—including

under the provision of law cited in the SAC. See SAC ¶ 8; 42 U.S.C. § 2000e-5(f)(1) (providing

for referral “to the Attorney General” only “[i]n the case of a . . . government, governmental

agency, or political subdivision”). There is consequently no possibility that the Attorney General

would initiate a Title VII enforcement action against any of the Plaintiffs. 2



2
  Plaintiffs’ speculation regarding the Attorney General’s possible involvement in future
appellate litigation, see SAC ¶ 8, particularly in this circumstance where no existing lower court
litigation (or threat thereof) has been identified, also fails to satisfy Article III’s requirements that
                                                   8
 Case 4:18-cv-00824-O Document 49 Filed 09/23/20                   Page 15 of 22 PageID 655



       Because Plaintiffs must establish “standing to bring each of [their] claims against each

defendant,” and have not identified any injury to support standing for claims against the Attorney

General, Plaintiffs’ claims against the Attorney General must be dismissed. Coastal Habitat All.

v. Patterson, 601 F. Supp. 2d 868, 877 (W.D. Tex. 2008) (citing James v. City of Dallas, 254

F.3d 551, 563 (5th Cir. 2001)); see also DaimlerChrysler, 547 U.S. at 352; Calzone v. Hawley,

866 F.3d 866 (8th Cir. 2017).

 II.   Plaintiffs’ Claims are Unripe.

       Plaintiffs’ request for a decision opining on the existence of a religious exemption to Title

VII and associated declaratory relief is not ripe. The ripeness doctrine “separates those matters

that are premature because the injury is speculative and may never occur from those that are

appropriate for judicial review.” United Transp. Union v. Foster, 205 F.3d 851, 857 (5th Cir.

2000); see also Texas v. United States, 523 U.S. 296, 300 (1998) (a plaintiff’s claim “is not ripe

for adjudication if it rests upon contingent future events that may not occur as anticipated, or

indeed may not occur at all”). The “basic rationale” underlying the ripeness doctrine “is to

prevent the courts, through premature adjudication, from entangling themselves in abstract

disagreements.” Abbott Labs. v. Gardner, 387 U.S. 136, 148 (1967). Courts evaluate two issues

in assessing whether ripeness is met: (1) the fitness of the matter for adjudication, and (2) the

hardship to the plaintiff of withholding review. See Lopez v. City of Houston, 617 F.3d 336, 341

(5th Cir. 2010). Here, Plaintiffs’ claims are not fit for review because there is no sufficiently

concrete dispute, thereby rendering the Court unable to ground any judicial decision in specific

facts. In addition, there would be no hardship to the Plaintiffs if the Court leaves unresolved the

abstract dispute presented.


an injury be non-speculative and actual or imminent. See Crane v. Johnson, 783 F.3d 244, 252
(5th Cir. 2015).
                                                  9
    Case 4:18-cv-00824-O Document 49 Filed 09/23/20                  Page 16 of 22 PageID 656



        When a plaintiff invokes the Declaratory Judgment Act, as in this case, courts assess

whether a case is ripe and presents sufficient adversity and concreteness by examining whether

an “actual controversy” exists between the parties. Orix Credit All., Inc., v. Wolfe, 212 F.3d 891,

896 (5th Cir. 2000); see Regions Ins. Inc. v. Ace Prop. & Cas. Ins. Co., 80 F. Supp. 3d 730, 735

(M.D. La. 2015). An actual controversy requires “sufficient immediacy and reality” in a dispute

“between parties having adverse legal interests,” Middle S. Energy, Inc. v. City of New Orleans,

800 F.2d 488, 490 (5th Cir. 1986), as measured by whether the request for a declaratory

judgment “relate[s] to an actual claim arising under federal law that another asserts against

[them].” Collin Cty., Texas v. Homeowners Ass’n for Values Essential to Neighborhoods

(“HAVEN”), 915 F.2d 167, 170-71 (5th Cir. 1990). In other words, “it is the underlying cause of

action of the defendant against the plaintiff that is actually litigated.” Id. at 171 (emphasis

added); see also id. at 172 (“The Act is designed to allow potential defendants in cases of actual

and immediate controversy within the subject matter jurisdiction of the federal courts to petition

the court for an early resolution of the parties[’] rights and liabilities” (emphasis added)). 3

        Here, there is no actual and immediate controversy between the parties that necessitates

resolving the legal questions set forth in the SAC regarding the rights to religious freedom of

religious institutions and closely-held, religiously-operated businesses. There may never be any

controversy between Plaintiffs and the Attorney General, and Plaintiffs do not allege any

instance in which the EEOC has threatened Title VII litigation concerning the religious beliefs or

employment-related policies or actions of any Plaintiff. See SAC ¶¶ 19-38. The EEOC has not


3
  This teaching underscores that the lack of ripeness is particularly acute with respect to
Plaintiffs’ claims against the Attorney General because it is the EEOC, not the Attorney General,
that would bring any Title VII claim against Plaintiffs. See 42 U.S.C. 2000e-5. Thus, as to the
Attorney General, there is no “underlying cause of action of the defendant against the plaintiff[s]
that [could be] actually litigated.” HAVEN, 915 F.2d at 171; see also id. (“A party bringing a
declaratory judgment must have been a proper party” to the underlying suit).
                                                  10
  Case 4:18-cv-00824-O Document 49 Filed 09/23/20                    Page 17 of 22 PageID 657



announced any guidance regarding the application of Bostock to religious organizations or

closely-held, religiously-operated businesses, and indeed, has had only a few months since the

Supreme Court’s decisions in Bostock and Morrissey-Berru in which to do so. Nor does the

EEOC’s decision to pursue an enforcement action in Harris Funeral Homes v. EEOC, see SAC

¶ 17—which was initiated prior to EO 13798 and the EO’s requirement that agencies “vigorously

enforce . . . Federal law’s robust protections for religious freedom,” 82 FR 21675—establish a

likelihood of suit against any of the Plaintiffs. Plaintiffs have therefore failed to demonstrate that

there is an actual, immediate likelihood of a cause of action asserted against them under federal

law that can be litigated in advance as a declaratory judgment action. See HAVEN, 915 F.2d

171. Because courts “do not . . . give advisory opinions about issues as to which there are not

[yet] adverse parties,” Princeton Univ. v. Schmid, 455 U.S. 100, 102 (1982), Plaintiffs’ claims

should be dismissed as unripe.

        For similar reasons, ripeness is also lacking with regard to Plaintiffs’ claims that

“Bostock’s interpretation of Title VII compels them to violate the teachings of their religion.”

SAC ¶ 82. Plaintiffs suggest that following Bostock, there is a conflict between “the Bible’s

instruction[s] to obey the civil authorities” and the “Bible’s teachings on homosexuality,” id.,

that can be resolved by a judicial decision that RFRA or the First Amendment exempts them

from application of the Title VII protections for sexual orientation and gender identity described

in Bostock. But this merely underscores that the supposed conflict among religious teachings

identified by Plaintiffs is a speculative injury that requires concrete circumstances to test: only if

Plaintiffs were to lose on some part of the merits of this litigation (i.e., if the Court were to limit

any religious exemption from Title VII) would Plaintiffs face a conflict between obeying the law

and obeying their religious tenets. There is no well-defined conflict at present. The First



                                                   11
    Case 4:18-cv-00824-O Document 49 Filed 09/23/20                Page 18 of 22 PageID 658



Amendment and RFRA are in effect, and the President has committed his Administration to

vigorously enforce them. Nothing in Bostock precludes the application of such protections to

Title VII, as the Supreme Court expressly left questions about “how these doctrines protecting

religious liberty interact with Title VII” for another day. 140 S. Ct. 1754. 4 If anything, the

Court’s explicit discussion of these protections in response to religious liberty concerns raised

with respect to its statutory holding supports Plaintiffs’ arguments that these doctrines do provide

protection for religious employers for whom application of Bostock would present a religious

conflict. And if—consistent with Plaintiffs’ litigation thesis—Plaintiffs’ employment activities

are protected by religious liberty exemptions to Title VII, they face no conflict between obeying

the law and obeying their religious tenets.

        Plaintiffs’ claims are also unripe for the reason that they would not suffer significant

hardship if the Court declines to review their claims. As Plaintiffs acknowledge, the EEOC first

took the position that Title VII applies to discrimination on the basis of gender identity and

sexual orientation more than 5 years ago. See SAC ¶ 12 (citing Macy v. Holder, EEOC Doc. No.

0120120821, 2012 WL 1435995 (EEOC Apr. 20, 2012); Baldwin v. Foxx, EEOC Doc.

0120133080, 2015 WL 4397641 (July 15, 2015)). Plaintiffs do not allege that in the intervening

years, they have been unable to hire, fire, or regulate their employees in accordance with their

religious beliefs, or that they have undertaken any other change in employment practices in



4
  Defendants acknowledge that, in a similar religious freedom challenge to federal law, this
Court has recognized that a conflict between “intentionally defying federal law” and “forgoing
specific conduct they believe is constitutionally protected” presents an “impossible choice”
sufficient to make a case ripe. See Franciscan Alliance v. Burwell, 227 F. Supp. 3d 660, 682
(N.D. Tex. 2016). In contrast to that case’s challenge to specific regulations enacted pursuant to
the Affordable Care Act, however, see id. at 481-82, Plaintiffs’ challenge here is not similarly
cabined and instead seeks a determination about the entire application of the statutory prohibition
on “sex” discrimination. See, e.g., SAC ¶ 20. This distinction underscores the abstract nature of
the claims here.
                                                 12
 Case 4:18-cv-00824-O Document 49 Filed 09/23/20                   Page 19 of 22 PageID 659



response to the EEOC’s policy. Nor have Plaintiffs alleged that they have suffered any hardship

in their day-to-day operations from not having a federal court opine on the application of specific

religious liberty exceptions from the Title VII protections for sexual orientation or gender

identity described in Bostock. Thus, Plaintiffs would not be harmed if the Court declined to hear

this hypothetical Title VII dispute; rather, they would remain in the same position they have been

in for years. The hardship prong thereby reinforces that dismissal for lack of ripeness is proper.

       Finally, Plaintiffs’ fourth and fifth claims are particularly unripe. Plaintiffs’ fourth claim

requests that this Court declare that “Bostock’s interpretation of Title VII does not prohibit

discrimination against bisexual employees,” SAC ¶ 69, but Plaintiffs have not even alleged that

they have employment policies or religious beliefs that are specific to bisexual orientation or

bisexual behavior, let alone described this claim in anything other than abstract terms. It is thus

unclear how, if at all, any enforcement against them implicating this interpretive question under

Title VII would arise. Similarly, Plaintiffs have not alleged that they have implemented any of

the hypothetical “rules of conduct that apply equally to both sexes” on which their fifth claim

rests, SAC ¶ 73, and in the absence of which this Court can only render an impermissible

advisory opinion.

                                                ***

       In this action, Plaintiffs identify legal issues of great interest and importance regarding

the need to “preserv[e] the promise of the free exercise of religion enshrined in our

Constitution.” Bostock, 140 S. Ct. 1754. “[T]hat guarantee lies at the heart of our pluralistic

society,” id., and is further protected by RFRA, the First Amendment, and other legal authorities.

The Judicial Branch has routinely provided a forum for religious persons, institutions, and

closely-held, religiously-operated businesses to obtain recognition for the constitutional and



                                                 13
 Case 4:18-cv-00824-O Document 49 Filed 09/23/20                   Page 20 of 22 PageID 660



statutory shields that protect religious institutions and closely-held, religiously-operated

businesses alike from the mandates of bureaucracy and democracy. See, e.g., Morrissey-Berru,

140 S. Ct. 2049; Burwell v. Hobby Lobby, 134 S. Ct. 2751, 2775 (2014); Hosanna-Tabor, 565

U.S. 171; Gonzales v. O Centro Espirita Beneficente Uniao do Vegetal, 546 U.S. 418 (2006);

Gallagher v. Crown Kosher Super Market of Mass., Inc., 366 U.S. 617 (1961). However, as

befits the “the proper—and properly limited—role of the courts in a democratic society,” Warth

v. Seldin, 422 U.S. 490, 498 (1975), such decisions may be rendered when it is possible to

examine concrete facts and circumstances “with care and in detail,” and not with excessive

“breadth and sweep.” Burwell, 134 S. Ct. 2785 (Kennedy, J., concurring). Plaintiffs have not

presented claims in such fashion.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs’ claims should be dismissed.




 Dated: September 23, 2020                         Respectfully submitted,

                                                   JEFFREY BOSSERT CLARK
                                                   Acting Assistant Attorney General

                                                   ERIN NEALY COX
                                                   United States Attorney

                                                     /s/ Eric J. Soskin
                                                   CARLOTTA P. WELLS
                                                   Assistant Branch Director
                                                   ERIC J. SOSKIN (PA Bar #200663)
                                                   Senior Trial Counsel
                                                   U.S. Department of Justice
                                                   Civil Division, Rm. 12002
                                                   1100 L Street, NW
                                                   Washington, D.C. 20530
                                                   Telephone: (202) 353-0533



                                                 14
Case 4:18-cv-00824-O Document 49 Filed 09/23/20    Page 21 of 22 PageID 661



                                     Fax: (202) 616-8470
                                     Email: Eric.Soskin@usdoj.gov

                                     Brian W. Stoltz
                                     Assistant United States Attorney
                                     Texas Bar No. 24060668
                                     1100 Commerce Street, Third Floor
                                     Dallas, TX 75242-1699
                                     Telephone: (214) 659-8626
                                     Fax: (214) 659-8807
                                     Email: brian.stoltz@usdoj.gov

                                     Attorneys for Defendants




                                   15
 Case 4:18-cv-00824-O Document 49 Filed 09/23/20                    Page 22 of 22 PageID 662




                                 CERTIFICATE OF SERVICE

        On September 23, 2020, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the court. I hereby certify that I have served all parties electronically or by

another manner authorized by Federal Rule of Civil Procedure 5(b)(2) or the local rules.


                                                                /s/ Eric J. Soskin
                                                               Eric J. Soskin




                                                 16
